
668 S.E.2d 785 (2008)
STATE
v.
Eugene Johnny WILLIAMS.
No. 506A07.
Supreme Court of North Carolina.
October 14, 2008.
Daniel Shatz, Assistant Appellate Defender, Staples Hughes, Appellate Defender, for Williams.
William B. Crumpler, Edward W. Grannis, Jr., District Attorney, for State of NC.
The following order has been entered on the motion filed on the 9th day of October 2008 by Defendant for Extension of Time to File Brief:
"Motion Allowed. Defendant (Williams) shall have up to and including the 8th day of December 2008 to file and serve his/her brief with this Court. By order of the Court in conference this the 14th day of October 2008."
